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                                     UNITED STATES D£STRICT COURT
                                                                             fo r the
                                                              Southern District of lllinois

  -- ~£r!_R1Y. _~i.n.                                                          >
 - -- . - - -- --- ------- . .                                                  )
                                                                                        Case Nwnber:                  16-416-SMY
     ------ -- - - -- -- - - ------                                    - -      )                               (Clerk's Office will provide)

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                            Plainti.fflPetiticn.er(s)
                                                                               )
                                                                                )       arCIV[L RIGHfS COMPLAINT
                                                                                        pursu.mt to -1.2 U.S. C. § L983 (Stlte Prisoner)
                                       ~                  I                     )


 .J 0.-H ~-R_~__~A UlW \.N.-:_f) uui- ~l\Kr)                                            0 CIVIL RIGHTS COMPLAINf
 ~0 ).-[dcliN.rr.-_fonrte.o-\\W.all_\J)Dt)                                              pursuant to 28 U.S.C. §1331 (Federal Prisoner)


~~or;;  ~iffA~.o:~¥,l
                                                                                        0 CIVIL CO ~!P LAlNT
                                                                                        pursuant to the Federal Tort Claims Act,
    /[k_fr.;;dan t;Respondelll(s) C. , , ~                                              28 U.S.C. §§1346, 2671-2680, or other ldw




 L           JURISDICTION




             A.             Plaintiff's mailing address, register number, and present place of
                            confinement. 0et-\-r-e:y t'l\Ll£R-~ N-90f:2.'7
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                                                    ~.Sl N ILl\ ~0\~ - \-\W[ 37
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                                                    J:NA 1-=r: l:.L\ ~o\S &Jo+C
             Defendant #1:

             B.              Defendant __        J'_QJ1N 13- ,. M_L\)\!\1 \ N                                     _    _     _is employed as
                                                                 (a)         (Name of First Defendant)

                             J)\Re.c.-ToR o± IL~--                                                                    - - ----- ----
                                                                 Cb>                  (Position/ Title)

                             withil.L             Dept of- C.OY.t~Jili_;flol                                }:Oru;Qrclikli±.L..___ _
                                                                 (c)         (Employer's Name and Address)




                             At the time the da.i.m(s) alleged Lhis co mplaint arose, was Defendan t #1
                             e mployed by the state, local, o r federal government? 0 Yes       ~o
                                           Nov~ne.& ~oQ. YJroc.edvr~\ pu.~·
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                                                                                 . , \w C.,ct.oe- . \\ ow-eve. . YL-
                             !.f your answer is YES, briefly                        t~xplain:             · t\-W\ '1N1\\\~ \o ~\r\u ~t ~                \-
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         Defendant #2:

         c.                                                           _ _ _ _ __is employed as

                                    (NJ.me of Second Defendant)


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                                             (Po,..ition/Title)


                 with :li_l&.QJ:...:__QQ..L C.O.NCD..tdicLJ:o.u.._
                                                               ~!'\;...,___
                                     (Employer's   Nanu~   and Address)

                 _ _-~ tRL~3__LE..Lb_1_I1.1._.._ G a7!1_t                          _ ____
                 At the time the daim(s) aUeged i.n this complaint arose, was Defendant #2
                 employed by the state, local, or federal government?     ~ 0 No




         •.      Using the outline set forth above, identify any additional Defemlant(s).




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                 Case:I3:16-cv-00416-SMY-SCW Document 1 Filed 04/13/16 Page 3 of 17 Page ID #50
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 lf.      PREVIOUS LAWSUITS

          A.       Have you lwgun any olher law suits in sta te or federal court r_>lJ.ting to
                   your imprisonment? No ~'-"\\~                !\.  t\. . D
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          B.       [f your answer to" A" is YES, describe each lawsuit in the space below. If
                   there is more than one lawsuit, you must describe the addiuonilllu.wsuils
                   on cu1other sheet of paper using the same outline. Failure to comply with
                   t.hi ~ rovision max res ult in summarv d enial o f your co mplaint


                   L.    Parties to previous laws uits: N b
                         PlainliJf(s):




                          Defendant(s): N {     f~


                   2.     Cou.r.t (if federnl court, name of the distric t; i£ state court, name of
                          the county):    N ) J~-
                   3.     Docket number:

                   4.     Name of Judge to whom case was assign ed:            tv/ /\-
                   5.     Type of case (for example: Was it a ha beas corpus or civil riehts
                          action?) :



                   6.     Disposition of case (for exam ple: Was the case dism.issed? Was it          NJ~~
                          appealed? Is it still pending?):                                            {




                   7.     Approximate dale of filing lawsuit

                   8.     Approximate (late of disposition:




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      c.




      D.
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            Case 3:16-cv-00416-SMY-SCW Document 1 Filed 04/13/16 Page 7 of 17 Page ID #54
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          petition herein, he/she is the Defendant in the above entitled cause; that he/she has read
          the fore-going document, by his/her signed, and that the statements contained therein are
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                                                                                   Defendant, pro se

           Signed before me this _z'--+_I_
                                         J__ day of                             Prpti (                     ' [lo/?.


          Notary Public
                                                              VERIFICATION
           I,     J' G~~I"Vf
                                 I
                                     !?1,~4rL                   , the      undersigned, certify and _state that :
          1 . I am the (Petitioner/Respondent) in the above captioned legal
              matter.
          2 . I have read the forgoing application and have know l edge of its
              contents;
          3. Under penalties as provided by law pursuant to sec.l-109 of
             the Code of Civil Procedure , I certify that the statements set
                  forth in the foregoing mo t ion and this affidavit are t rue and
                  cor r ect except as to matters t herein states to be on informat i on
                  and belief, 'and as such matters I certify and the s ame to be
                  true .


                                                                        S:




         . Form revised
Case 3:16-cv-00416-SMY-SCW Document 1 Filed 04/13/16 Page 14 of 17 Page ID #61




 IV.    STATEM ENT OF CLAI M

         A.      State here, as brietly as possib le, when, where, how, anti by whum you feel
                 your constitutional rights were violated. Do not include legal .t rguments o(
                 citations. lf you wish to prese nt h~gal argumcnlc; or citations, file a separate
                 memorandum of law. [f you intend to allege a n umbe r of related claims,
                 number and se t forth each cl.:~im in a separate paragraph. [£ your claims
                 relate to prison disciplinary proceedings, attach copies of the disciplinary
                 charges and any disciplinary h earing summary as exhibits. You should also
                 attach any releva nt, supporting documentation.

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Case 3:16-cv-00416-SMY-SCW Document 1 Filed 04/13/16 Page 15 of 17 Page ID #62




 V.       REQUEST FOR RELIEF

          State exactly what you want this cottrt to do for you. If you are a s tate or federal
          prisoner and seek relief which affec ts U1e factor duration of your imprisorunent(for
          example: illegal detention, restoration of good time, expungcmcnt of record s, or
          parole), you must file your claim on a habeas corp us fo rm, purs wU1t to 28 USC.
          §§ 22-!1, 2254, or 2255. Copies of these forms <.Ue available from lhe cle rk's office.

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 vi.      JURY DEMAND (check one box below)   ' ~" "Tk s-\CA.\<--
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          The plaintiff M does 0 d oes no t re<.tuest a trial by jury.




           DECLARATION UNDER FEDERAL RULE OF CIV1L PROCEDURE 11

 I certify to the best of my knowledg e, information, and belief, that this complaint is in full
 compliance with Rule ll(a) and ll(b) of the Federal Rules of Civil Procedure. 'Ilu:~
 undersigned also recognizes that failure to comply w ith Rule 11 may result in sanctions.




 Signed on:    APr; ( / 7 ld.o.I-G
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                  C1ty, State, Z1p                                       Prisoner Register Number



                                                             -· - - - -
                                          Signature of Attorney (if any)




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Case 3:16-cv-00416-SMY-SCW Document 1 Filed 04/13/16 Page 16 of 17 Page ID #63




                      UN£TED STATES DISTIUCT COURT
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                                    Q:RTIFICATE OF SERVICE

         I hereby certify that on     ¥7~                          dcdronically filed                         A~.JI ,:;. g_ .fo! 91):3
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   do(ument(s) to the following non-registered participants:




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